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                                                       #:55




                          Petitioner



                        Respondent(s)
                                                                          ELECTION REGARDING
                                                                      CONSENT TO PROCEED BEFORE
                                                                   A UNITED STATES MAGISTRATE JUDGE


    •    A magistrate judge is available under 28 U.S.C. § 636 ( c) to conduct all proceedings in this case,
         including dispositive matters, and entry of final judgment. However, a magistrate judge may be assigned
         to rule on dispositive matters only if all parties voluntarily consent.

    •    Parties are free to withhold consent to magistrate judge jurisdiction without adverse substantive
         consequences.

    •    If both parties consent to have a magistrate judge decide the case, any appeal would be made directly to
         the Ninth Circuit Court of Appeals, as if a district judge had decided the matter.

    •    Unless both parties consent to have a magistrate judge decide the case, the assigned magistrate judge
         will continue to decide only non-dispositive matters, and will issue a Report and Recommendation to
         the district judge as to all dispositive matters.


Please check the “yes” or “no” box regarding your decision to consent to a United States Magistrate Judge,
and sign below.


    Yes, I voluntarily consent to have a United States Magistrate Judge conduct all further proceedings in this case, decide
all dispositive and non-dispositive matters, and order the entry of final judgment.

   No, I do not consent to have a United States Magistrate Judge conduct all further proceedings in this case.


Executed on
                           Date                                 Signature of Petitioner/Counsel for Petitioner




CV-69 (05/12)       PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C § 2254)               Page 9 of 11
